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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                                           Civil Minutes


 Date: June 18, 2025                                                 Judge: Hon. James Donato

 Time: 45 Minutes

 Case No.        3:25-cv-03070-JD
 Case Name       American Federation Of Government Employees, AFL-CIO et al v.
                 Trump et al

 Attorney(s) for Plaintiff(s):    Ramya Ravindran/Abigail Carter/J. Alexander Rowell/
                                  Catha Worthman
 Attorney(s) for Defendant(s):    Tyler Becker/Jeremy Mauritzen

 Deputy Clerk: Lisa R. Clark                                          Court Reporter: Ana Dub

                                          PROCEEDINGS

Preliminary injunction hearing -- Held

                                    NOTES AND ORDERS

Plaintiffs’ application for a preliminary injunction, Dkt. No. 15, is taken under submission. The
Court will issue a written order.
